         Case 3:10-cr-00004-RLY-CMM                                 Document 455               Filed 02/28/13               Page 1 of 2 PageID #:
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                                                       Laura A. Briggs, Clerk
                                                       U.S. District Court
                                                       Southern District of Indiana

                                                       By
                                                                             Deputy Clerk




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Case 3:10-cr-00004-RLY-CMM           Document 455       Filed 02/28/13      Page 2 of 2 PageID #:
                                           1482



 Addendum to Order Pursuant to 18 U.S.C. § 3582(c)

           3:10CR00004-003
 Cause No. _____________________

           Leron Seales
 Defendant _____________________


 As directed by 18 U.S.C. ' 3582(c)(2), the Court has considered the relevant factors in U.S.S.G. '
 1B1.10(b) and 18 U.S.C. ' 3553(a), and determined a sentence reduction is not appropriate for the
 following reason(s):

 _____ 1) The defendant is not eligible for a reduction because the amendments listed in
       subsection (c) of U.S.S.G. ' 1B1.10 are not applicable to the defendant.

   ✔ 2) The amendment is listed in subsection (c) of U.S.S.G. ' 1B1.10 and is applicable to the
 _____
       defendant, but it does not have the effect of lowering the defendant=s applicable guideline
       range (e.g. a statutory mandatory minimum term of imprisonment, binding plea agreement,
       career offender status).

 _____ 3) The defendant is eligible for a reduction under this amendment, but the Court has
       determined such a reduction is not appropriate because of the nature and seriousness of the
       danger to any person or the community that may be posed by a reduction in sentence.
       (Application Note 1(B) of U.S.S.G. ' 1B1.10.)

 _____ 4) The defendant is eligible for a reduction under this amendment. However, the Court
       has determined the post-sentencing conduct demonstrates the defendant may pose a danger
       to any person or the community by a reduction in sentence. (Application Note 1(B) of
       U.S.S.G. ' 1B1.10.)

   ✔
 _____ 5) Other (explain)

        ________________________________________________________________________
        The defendant received the mandatory minimum sentence authorized by statute. The
        statutory penalty is not lowered under the Fair Sentencing Act.
        ________________________________________________________________________

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